Case 2:22-mj-02096-DUTY Document 1 Filed 05/26/22 Page 1 of 27 Page ID #:1
 Case 2:22-mj-02096-DUTY Document 1 Filed 05/26/22 Page 2 of 27 Page ID #:2



                                AFFIDAVIT
I, Carlos Duran, being duly sworn, declare and state as follows:

                            PURPOSE OF AFFIDAVIT

             This affidavit is made in support of a criminal

complaint and arrest warrants against Maria De La Luz GARCIA-

GOMEZ (“GARCIA-GOMEZ”) and Jonathan Alexis MERCADO (“MERCADO”)

for a violation of 21 U.S.C. § 841(a)(1): distribution of a

controlled substance.

             This affidavit is also made in support of an

application for a warrant to search Storage Unit 777a at Extra

Space Storage, a storage facility located at 157 E Stanley St,

Compton, CA 90220 (the “SUBJECT PREMISES”), as described more

fully in Attachment A.

             The requested search warrant seeks authorization to

seize evidence, fruits, or instrumentalities of violations of 21

U.S.C. § 841(a)(1) (possession with intent to distribute

controlled substances and distribution of controlled substances)

and 21 U.S.C. § 846 (conspiracy and attempt to distribute

controlled substances), as described more fully in Attachment B.

Attachments A and B are incorporated herein by reference.

             The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint, arrest

warrants, and search warrant, and does not purport to set forth

all of my knowledge of or investigation into this matter.           Unless
 Case 2:22-mj-02096-DUTY Document 1 Filed 05/26/22 Page 3 of 27 Page ID #:3



specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only.
                           BACKGROUND OF AFFIANT

           I am a Special Agent (SA) with the United States Drug

Enforcement Administration (“DEA”) and have been so employed

since November 2020.     I am currently assigned to the Los Angeles

Field Division.    As a DEA SA, I have received extensive training

regarding federal law enforcement, including federal firearms,

and narcotics offenses.     I also completed formal training at the

DEA Training Academy in Quantico, Virginia, where I received

specialized training in various surveillance and investigative

techniques related to organized crime and narcotics trafficking,

among other things.    Based on my training and experience, I am

familiar with the methods of operation of drug traffickers,

including the importation, exportation, distribution,

transportation, and storage of controlled substances, as well as

the collection of money proceeds of drug trafficking and methods

of money laundering used to conceal the nature of the proceeds.

                          SUMMARY OF PROBABLE CAUSE

           In February 2022, a fentanyl and methamphetamine

broker provided a Drug Enforcement Administration Confidential

Source (CS1) 1 with the contact information of a fentanyl and


     1 CS1 has been working with DEA since 2006 and has worked
with Enforcement Group 4 of the Los Angeles Field Division since
2018. The CS provides information and services supporting DEA
investigations throughout the United States and has testified in
multiple federal trials. The CS assists DEA for financial
                                   (footnote cont’d on next page)


                                        2
 Case 2:22-mj-02096-DUTY Document 1 Filed 05/26/22 Page 4 of 27 Page ID #:4



methamphetamine supplier in the California area.         That supplier

was later determined to be GARCIA-GOMEZ.        Over the next few

months, CS1 and GARCIA-GOMEZ negotiated the sale of fentanyl and

methamphetamine.    CS1 told GARCIA-GOMEZ that a family member,

which in reality was a DEA Undercover Officer (the “UC”) and

another individual, who was a DEA Confidential Source (“CS2”) 2,
would meet GARCIA-GOMEZ to complete the transactions.

            On February 9, 2022, GARCIA-GOMEZ met with the UC and

sold the UC 1,000 fentanyl pills and two pounds of

methamphetamine for $4,000.      On April 20, 2022, GARCIA-GOMEZ met

with CS2 and sold CS2 2,000 fentanyl pills for $4,000.          A

Hispanic male, who was later identified as MERCADO, hand-

delivered the suspected fentanyl pills to CS2.         On May 5, 2022,

GARCIA-GOMEZ met with CS2 and sold CS2 3,000 fentanyl pills for

$6,000.

            On May 25, 2022, GARCIA-GOMEZ arranged to meet CS2 to

sell CS2 50,000 fentanyl pills.      Before the meeting, GARCIA-GOMEZ

and MERCADO drove to a storage facility where GARCIA-GOMEZ rents
a storage unit (the SUBJECT PREMISES), and attempted to access

the unit.   An employee at the storage facility did not allow

benefit and has not yet been paid for his/her support in this
investigation. The CS has earned over $2,207,853.22 in exchange
for all work done on behalf of the DEA. The CS has several
arrests: (1) a 1996 arrest for carrying a concealed weapon and
for carrying a loaded firearm in a public place; (2) a 2004
arrest for controlled substance related offenses; and (3) a 2007
arrest for grand theft. The CS has a 2008 misdemeanor
conviction for grand theft. The information CS1 has given to
law enforcement officers has thus far proved to be truthful and
reliable.
     2 CS2 has been working with DEA since 2011 and has worked
with EG4 since 2018. CS2 assists DEA for financial benefit.
CS2 has no known criminal history.


                                        3
 Case 2:22-mj-02096-DUTY Document 1 Filed 05/26/22 Page 5 of 27 Page ID #:5



GARCIA-GOMEZ to access the SUBJECT PREMISES because she had not

paid rent.    GARCIA-GOMEZ told the employee that she would pay

more money for them to open the SUBJECT PREMISES, but the

employee refused.    The storage unit employee later informed the

DEA that the employee had seen empty acetone bottles near GARCIA-

GOMEZ’s storage unit.     Based on my training and experience,

acetone is used in the making of crystal methamphetamine.
             After GARCIA-GOMEZ and MERCADO left the storage

facility, they parked near the agreed-upon meet location.

MERCADO exited his car, removed a bookbag from GARCIA-GOMEZ’s

car, and placed it in his car.      GARCIA-GOMEZ then met with CS2 at

the agreed-upon and told CS2 that she could bring out 10,000

fentanyl pills at a time.     GARCIA-GOMEZ then drove back to where

MERCADO’s car was located.      Law enforcement officers then

detained GARCIA-GOMEZ, and saw that MERCADO had left the scene.

Law enforcement officers searched MERCADO’s car, saw the bookbag

on the passenger side floor, and saw that the bookbag contained a

large quantity of suspected fentanyl pills.

                        STATEMENT OF PROBABLE CAUSE

             Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:

     A.      Broker Informs CS1 that GARCIA-GOMEZ Distributes
             Fentanyl and Methamphetamine

             In February 2022, I received information from CS1

regarding a conversation between CS1 and a drug broker in Mexico.

CS1 explained that during recent telephone conversations with the




                                        4
 Case 2:22-mj-02096-DUTY Document 1 Filed 05/26/22 Page 6 of 27 Page ID #:6



broker via WhatsApp, the two had discussed a fentanyl and

methamphetamine deal.     The broker then sent CS1 a phone number,

559-330-5299 (the “5299 number”), which was subsequently

identified as belonging to Maria GARCIA-GOMEZ, as discussed

below.

     B.      GARCIA-GOMEZ Arranges to Sell CS1 1,000 Fentanyl Pills
             and Two Pounds of Methamphetamine on February 9, 2022
             On February 7, 2022, CS1 placed a recorded phone call

to GARCIA-GOMEZ at the 5299 number.         The conversation was in

Spanish.    I am a fluent Spanish speaker and reviewed the audio of

the call.    GARCIA-GOMEZ asked CS1 if he/she wanted ‘aguas’.         CS1

confirmed and asked if GARCIA-GOMEZ also had ‘rueditas’

available.    GARCIA-GOMEZ stated she had 1,000 pills available.

GARCIA-GOMEZ stated an unidentified male ordered 10,000 pills but

she sold him only 8,000 pills.      She also stated that she sold

another unidentified male 1,000 pills, leaving her with 1,000

pills.    Based on my training and experience, ‘aguas’ is slang for

methamphetamine and ‘rueditas’ is slang for fentanyl pills.

             On February 8, 2022, CS1 placed a recorded phone call
to GARCIA-GOMEZ at the 5299 number.         The conversation was in

Spanish.    I am a fluent Spanish speaker and reviewed the audio of

the call.    CS1 and GARCIA-GOMEZ confirmed that the deal was going

to take place on February 9, 2022 4504 E. 3rd Street in Los

Angeles, CA at approximately 1:00 p.m.         CS1 informed GARCIA-GOMEZ

that CS1’s sister-in-law was going to arrive at the deal location

at approximately 1:00 pm.     CS1 told GARCIA-GOMEZ that he/she

would be purchasing two ‘aguas’ and 1,000 ‘rueditas’ for $4,000.




                                        5
 Case 2:22-mj-02096-DUTY Document 1 Filed 05/26/22 Page 7 of 27 Page ID #:7



Based on my training and experience, two ‘aguas’ refers to two

pounds of methamphetamine and 1,000 ‘rueditas’ refers to 1,000

fentanyl pills.

       C.     February 9, 2022: GARCIA-GOMEZ Sells the UC 1,000
              Fentanyl Pills and Two Pounds of Methamphetamine for
              $4,000
              Based on my participation in the investigation, review

of the audio/video recording, and conversations with the UC, I

know the following:

              a.   On February 9, 2022, at approximately 12:00 p.m.,

the UC, along with DEA Special Agents and Fullerton Police

Detectives (“FPD”) met at a neutral location, before traveling

to 4504 E. 3rd Street in Los Angeles, CA.        The UC was given

$4,000 and equipped with an audio recording and transmitting

device.     Driving a white BMW, the UC followed SA LaShay Thomas

and myself to 4504 E. 3rd Street in Los Angeles, the agreed-upon

meet location.

              b.   At approximately 1:10 p.m., the UC arrived,

parked in the south side of the lot, and placed a call to

GARCIA-GOMEZ at the 5299 number.       A Spanish-speaking female

answered the phone (later identified as GARCIA-GOMEZ).           I was

listening to the recording device and was parked near GARCIA-

GOMEZ.      The UC informed the female that the UC had arrived at

the location.      The UC also described her location in the parking

lot.   The female insisted that the UC come to where she was

parked in east side of the parking lot.        The female stated she

was in a black Honda Civic.      The UC left her vehicle, on foot,

and walked towards a black Honda Civic (the “Honda”), bearing



                                        6
Case 2:22-mj-02096-DUTY Document 1 Filed 05/26/22 Page 8 of 27 Page ID #:8



California registration 8UJA923.      The UC acknowledged the

Hispanic female, 45-50 years old, in the driver's seat.          Upon

making contact, the female insisted that the UC sit in the

Honda.   The UC refused.    The female asked the UC to move the

UC’s vehicle next to the Honda.      The UC walked back to her

vehicle and drove it towards the east side of the parking lot,

finally parking next to the Honda.         The UC observed a black

Mercedes attempting to reverse park in the empty spot next to

hers.

           c.    The UC exited her vehicle on the driver’s side

and approached the driver’s side of the Honda.         The female

rolled down her window completely, and the UC could see the

female had her phone on her lap, and was talking to someone.

The individual was directing the female to provide the UC with

the narcotics.   The female again requested that the UC enter her

vehicle.   The UC, again, refused.     The female stated she wanted

to count the money.    The UC asked if she had the pills.        The

female initially pulled down the center sunglass visor, but then

went to the center console and pulled a white Styrofoam drink

cup, with a red straw, and removed the plastic cover to reveal

to the UC a plastic bag containing round blue pills.          The UC

took the cup and handed the female the $4,000 through

the driver-side window.     The female counted the money.

           d.    The female exited the vehicle and explained to

the UC she was waiting on "a guy" to bring the other part.           The

female spoke on the phone with someone who informed her that he

would be there shortly.



                                       7
 Case 2:22-mj-02096-DUTY Document 1 Filed 05/26/22 Page 9 of 27 Page ID #:9



           e.    At approximately 1:25 p.m., a blue, Chevy Tahoe

drove through the lot, driven by a Hispanic male who made eye

contact with the UC.     The Tahoe left the parking lot and parked

on McBride Avenue.     The female told the UC to wait by her car,

and the UC watched the female walk to the passenger side of the

Tahoe and return to where their cars were parked with a plastic

shopping bag.    The UC opened the passenger door of her BMW, and

the female placed the plastic bag on the seat, opened the bag to

show the UC the bag contained two plastic bags containing

crystalized shards, appearing to be methamphetamine.           The UC

nodded that she accepted the contents.        The female left the bag

on the passenger seat.      The UC thanked the female, and entered

her vehicle on the driver's side.

           f.    At approximately 1:25 p.m., the UC left the

parking lot, and parked on the south side of the parking lot

before SA Thomas and I followed her to the neutral location.

The UC handed me the styrofoam cup and bag containing the

suspected fentanyl and methamphetamine.
           A short time later, FPD informed me and SA Thomas that

GARCIA-GOMEZ parked next to a black Mercedes Benz.         FPD took a

picture of the subject GARCIA-GOMEZ met with, who was later

identified as MERCADO.

     D.    Identification of GARCIA-GOMEZ

           On February 11, 2022, I ran the 5299 number and

address 7903 Elm Ave #40, Rancho Cucamonga, CA 91730 (which is

the address of a location we had previously seen her arrive at)




                                        8
Case 2:22-mj-02096-DUTY Document 1 Filed 05/26/22 Page 10 of 27 Page ID #:10



in publicly accessible applications in order to identify the

female who sold the UC the fentanyl and methamphetamine.
           The address was tied to multiple subjects, including a

female by the name of Maria GARCIA-GOMEZ with date of birth

12/10/1975.   I searched California DMV records for the license

plate number of the Honda that the female drove to the deal with

the UC, and saw that the Honda was registered to GARCIA-GOMEZ.

           I conducted basic Internet searches for GARCIA-GOMEZ

and found a female by the name of Maria De La Luz GARCIA-GOMEZ,

with a date of birth of 12/1975.      I reviewed a California

Driver’s License for GARCIA-GOMEZ, and showed the driver's

license and photo to the UC.      The UC confirmed that the female

pictured on the driver’s license was the female who sold her the

drugs.

      E.   April 20, 2022: GARCIA-GOMEZ and MERCADO Sell CS2
           2,000 fentanyl pills for $4,000

           On April 7, 2022, at the direction of myself and SA

Thomas and on a recorded line, CS1 was in telephone conversations

with GARCIA-GOMEZ at the 5299 number.       GARCIA-GOMEZ and
CS1 negotiated another transaction for 2,000 fentanyl pills in

exchange for $4,000 to take place on April 20, 2022.          CS1

informed GARCIA-GOMEZ that an associate, CS2, would meet GARCIA-

GOMEZ to conduct the transaction.

           On April 20, 2022, SAs Thomas and Incandela met with

CS2, at a neutral location.      CS2 was outfitted with an

audio/video transmitter/recorder device, and shortly thereafter




                                        9
Case 2:22-mj-02096-DUTY Document 1 Filed 05/26/22 Page 11 of 27 Page ID #:11



was escorted to the parking lot of a Vons grocery store located

at 1342 Alvarado Street, Los Angeles, CA 90026.
           Prior to CS2 arriving to Vons grocery store, law

enforcement officers set up surveillance in and around

the parking lot.

           At approximately 12:00 p.m., CS2 arrived at the Vons

grocery store and parked along the east side of the parking lot

against a fence line.

           At approximately 12:10 p.m. on a recorded line, CS1

notified GARCIA-GOMEZ that CS2 had arrived and was waiting on

her.   GARCIA-GOMEZ told CS1 that she was there.

           At approximately 12:35 p.m. a gray Honda Accord

bearing license plate 7YSX424, registered to an address in Los

Angeles, parked adjacent to CS2 on the passenger side of CS2’s

vehicle.   Shortly thereafter, a gray Mercedes parked on the

driver’s side of CS2’s vehicle.      The Mercedes backed into the

parking spot and had no front license plate.        The driver of the

Honda Accord and the driver of the Mercedes remained inside of

their respective vehicles.

           At approximately 12:37 p.m. agents observed CS2 exit

the driver’s seat of his/her vehicle and stand between his/her

vehicle and the passenger side door of the Mercedes.          GARCIA-

GOMEZ remained in the driver’s seat of the gray Mercedes as she

was conversing through the passenger window to CS2 and talking

on her cellular phone.     CS2 stated “you expecting me?” and

GARCIA-GOMEZ replied “yeah everything is fine.”         She informed CS2

that an individual in the jeep had the pills.         CS2 asked “who



                                       10
Case 2:22-mj-02096-DUTY Document 1 Filed 05/26/22 Page 12 of 27 Page ID #:12



should I pay?” and GARCIA-GOMEZ stated “give the money to me.”

CS2 observed GARCIA-GOMEZ count all the money.
            After all the money was counted and while CS2 was

conversing with GARCIA-GOMEZ, a dark-colored Grand Jeep Cherokee

bearing California license plate 8UCD595 (R/O at 824 Merwin

Street, Los Angeles, CA 90026) arrived in the parking lot driven

by an unidentified Hispanic male who exited the vehicle.          The

Hispanic male was later identified as MERCADO.

            At approximately 12:38 p.m. surveillance observed

MERCADO exit his vehicle carrying a black t-shirt with content

wrapped inside.    MERCADO was then observed approaching the

driver’s side of the gray Mercedes where he handed the black t-

shirt with the contents wrapped inside to GARCIA-GOMEZ.          GARCIA-

GOMEZ received the black t-shirt and then handed it to CS2.           CS2

gave GARCIA-GOMEZ $4000 in exchange for the suspected fentanyl

pills.

            At approximately 12:40 p.m. CS2 briefly conversed with

MERCADO and asked “Hey you were here huh?” to which MERCADO
replied “yeah.”

            At approximately 12:45 p.m. CS2 placed the suspected

fentanyl pills inside of their vehicle, and MERCADO and GARCIA-

GOMEZ left the Vons grocery store parking lot in their respective

vehicles.

            At approximately 12:50 p.m. surveillance observed

MERCADO travel to 824 Merwin Street and park his car.

            A short time later, SA Thomas called LA Clear, a

deconfliction call center, to give them the 824 Merwin Street



                                       11
Case 2:22-mj-02096-DUTY Document 1 Filed 05/26/22 Page 13 of 27 Page ID #:13



address.     A DEA agent contacted SA Thomas and informed her that

they arrested a male at a storage facility who was associated

with this address a few months prior.       The agent also let SA

Thomas know that a subject by the name of Jonathan MERCADO was

also at the storage facility with their subject.         The agent sent

SA Thomas a picture of MERCADO.      The picture confirmed that

MERCADO was the Hispanic male who delivered the suspected

fentanyl to GARCIA-GOMEZ on April 20, 2022 and who GARCIA-GOMEZ

met with during the first buy/walk operation.         MERCADO was

driving a black Mercedes on the day his associate was arrested,

with CA license plate 8YIW058, registered to the address of 12056

Peach Street, Lynwood, CA.

      F.     May 5, 2022: GARCIA-GOMEZ Sells CS2 3,000 fentanyl
             pills for $6,000
             On May 4, 2022, and prior to that date, at the

direction of myself and Thomas and on a recorded line, CS1 was in

telephone conversations with GARCIA-GOMEZ at the 5299 number.

GARCIA-GOMEZ negotiated the purchase of 3,000 fentanyl pills and

two pounds of methamphetamine for $8,200.

             On May 5, 2022, myself and SA Thomas met CS2 at a

neutral location.    CS2 was present at the narcotics

transaction on behalf of CS1 as a courier to meet with GARCIA-

GOMEZ.     CS2 was outfitted with an audio/video

transmitter/recorder device.

             On May 5, 2022 at approximately 6:55 a.m., law

enforcement officers set up surveillance at 824 Merwin Street and

12056 Peach Street, Apt C, Lynwood, CA 90262.




                                       12
Case 2:22-mj-02096-DUTY Document 1 Filed 05/26/22 Page 14 of 27 Page ID #:14



           At approximately 6:55 a.m., FPD confirmed that the

black Jeep, with CA plate 8UCD595, was parked on Merwin Street.

           At approximately 7:14 a.m., surveillance officers

observed a black Mercedes, with CA plate 8YIW058, parked on 12056

Peach Street.

            At approximately 8:52 a.m., officers observed the

black Mercedes and a dark blue Nissan sedan, registered to L.D.

in Los Angeles, departing 12056 Peach Street.         Officers saw the

two vehicles driving in tandem and driving erratically near a

school zone.    Surveillance was terminated on both vehicles.

           At approximately 9:30 a.m., agents set up surveillance

at a Vons, located at 1342 Alvarado Street Los Angeles, CA 90026.

Shortly after, CS2 was escorted from the neutral location to the

parking lot of the Vons grocery store located at 1342 N Alvarado

Street Los Angeles, CA 90026.

           At approximately 10:00 a.m., on a recorded line, CS1

notified GARCIA-GOMEZ that CS2 had arrived and was waiting on

her.

           At approximately 10:13 a.m., FPD observed an

unidentified male enter the black Jeep that was parked at 824

Merwin Street.    A few moments later, FPD observed the male park

the Jeep in front of 824 Merwin Street and walk inside of 824

Merwin Street.




                                       13
Case 2:22-mj-02096-DUTY Document 1 Filed 05/26/22 Page 15 of 27 Page ID #:15



           At approximately 10:27 a.m., SA Aaron Johnson observed

a gray Mercedes Benz park next to CS2's vehicle.         Agents

identified GARCIA-GOMEZ as the driver of the Mercedes.

           A few moments later, surveillance observed the black

Jeep from Merwin Street park on Liberty Street.         A/GS Flanigan

departed the area and when he came back around to park in the

same parking spot, he observed that it was the same black Jeep

that was parked at 824 Merwin Street earlier that day.

           At approximately 10:40 a.m., SA Aaron Johnson observed

an unidentified male walking towards CS2 and GARCIA-GOMEZ's

vehicle.   A short time later, the male handed a bag to GARCIA-

GOMEZ that contained the suspected fentanyl pills.         GARCIA-GOMEZ

handed the bag to CS2.     A few moments later, CS2 called SA Thomas

to inform her that the bag contained the suspected fentanyl

pills.

           A few moments later, FPD observed the unidentified

male enter the black Jeep.      Officers conducted surveillance on

the Jeep as it departed the Vons.       A short time later, the Jeep

pulled to the curb and surveillance was lost on the vehicle.

           At approximately 10:43 a.m., CS2 informed SA Thomas

that GARCIA-GOMEZ was expecting an individual to deliver the two

pounds of methamphetamine in approximately seven minutes.




                                       14
Case 2:22-mj-02096-DUTY Document 1 Filed 05/26/22 Page 16 of 27 Page ID #:16



             At approximately 10:57 a.m., officers observed the

black Mercedes Benz and blue Nissan that departed 12056 Peach

Street earlier that day parked near 824 Merwin Street.

             At approximately 11:03 a.m., officers observed the

Mercedes Benz and blue Nissan depart 824 Merwin Street and drive

in tandem.    A few moments later, officers terminated surveillance

on both vehicles as it appeared they were doing counter

surveillance.

             At approximately 11:19 a.m., GARCIA-GOMEZ informed CS2

that the methamphetamine supplier was not going to deliver the

methamphetamine.

             A short time later, GARCIA-GOMEZ departed the Vons

parking lot.

             At approximately 12:00 p.m., CS1 contacted me and

informed me that he/she spoke to GARCIA-GOMEZ, and was

negotiating a deal to sell CS2 an additional 1,000 fentanyl pills

on the same day.    CS1 let GARCIA-GOMEZ know that the deal would

happen at a later date.

      G.     May 25, 2022: GARCIA-GOMEZ and MERCADO Attempt to Sell
             50,000 fentanyl pills for $125,000

             On or around May 17, 2022, at the direction of myself

and SA Thomas and on a recorded line, CS1 was in telephone

conversations with GARCIA-GOMEZ at the 5299 number.          GARCIA-GOMEZ

negotiated the purchase of 50,000 fentanyl pills for $125,000.

GARCIA-GOMEZ, on a recorded line, told CS1 that her old supplier


                                       15
Case 2:22-mj-02096-DUTY Document 1 Filed 05/26/22 Page 17 of 27 Page ID #:17



was not able to supply the fentanyl pills.        GARCIA-GOMEZ told CS1

that it would be a new supplier, selling the pills at $2.50, and

texted CS1 the address to conduct the meet: 3160 E Imperial Hwy,

Lynwood, CA 90262.

            On May 25, 2022, at approximately 11:00 a.m., CS2,

along with DEA Special Agents and South Gate Police Department

detectives (“SGD”) met at a neutral location, before traveling to

Walmart, located at 2100 N Long Beach Blvd, Compton, CA 90221.

CS2 was equipped with an audio recording and transmitting device.

            At approximately 11:30 a.m., SGD set up surveillance

at 12056 Peach Street, Lynwood, CA, where MERCADO’s Mercedes is

registered.

            A short time later, SGD saw a Black Honda, 8UJA923,

registered to GARCIA-GOMEZ, parked in front of 12056 Peach

Street.   A few moments later, SGD observed the Honda go the rear

of the driveway, out of sight.

            A short time later, SGD observed the Honda and the

Mercedes depart 12056 Peach Street in tandem.

            At approximately 12:26 p.m., SGD observed the Honda

and Mercedes enter Extra Space Storage, (where the SUBJECT

PREMISES is located), located at 157 E Stanley St, Compton, CA

90220.    Surveillance was lost on the vehicles at this time.

            At approximately 12:30 p.m., the Honda and Mercedes

departed the storage facility where the SUBJECT PREMISES is

located and drove back to 12056 Peach Street.




                                       16
Case 2:22-mj-02096-DUTY Document 1 Filed 05/26/22 Page 18 of 27 Page ID #:18



           At approximately 1:00 p.m., SGD observed GARCIA-GOMEZ

give a small package to an unidentified male who was riding a

bike.   The unidentified male departed this location and

surveillance was terminated on the bicycle.

           At approximately 1:00 p.m., driving a big rig,

CS2 followed SA LaShay Thomas and myself, to Walmart, the agreed-

upon meet location.    At around this same time, CS1 was talking to

GARCIA-GOMEZ on a recorded line letting her know that CS2 is

around the area.

           At approximately 1:07 p.m., SGD observed GARCIA-GOMEZ

and MERCADO washing their vehicles.

           At approximately 1:38 p.m., SGD observed GARCIA-GOMEZ

enter the Honda and MERCADO enter the Mercedes.

           At approximately 1:50 p.m., SGD observed the Honda and

Mercedes park at Super A Market, located at 8116 California Ave

E, South Gate, CA 90280.

           A short time later, CS1, on a recorded line, spoke to

GARCIA-GOMEZ and passed her the Walmart address.

           At around this time, SGD observed MERCADO give a bag

to an unidentified male driving a Dodge Charger, CA 8JIU324.

           A short time later, SGD observed the Honda and

Mercedes depart from Super A Market, driving in tandem.

           At approximately 2:10 p.m., SGD observed the Honda and

Mercedes arrive at E Pine Street and Long Beach Blvd, across the

street from the Walmart location.

           At this time, SGD observed MERCADO park on E Pine

Street and exit the Mercedes and walk towards GARCIA-GOMEZ’s



                                       17
Case 2:22-mj-02096-DUTY Document 1 Filed 05/26/22 Page 19 of 27 Page ID #:19



Honda.   SGD observed MERCADO pulling out a bookbag from the Honda

and putting the bag inside of MERCADO’s Mercedes.
            A short time later, SGD observed the Honda drive to

the Walmart location.

            A few moments later, the Honda parked next to CS2 and

GARCIA-GOMEZ, who was in the Honda started talking to CS2.

            SA Thomas and myself was listening to the recording

device CS2 had in hand.     GARCIA-GOMEZ told CS2 that she would

bring out 10,000 at a time.      CS2 let GARCIA-GOMEZ know that the

money was not separated and that CS2 was not able to separate it.

            A few moments later, Agents observed GARCIA-GOMEZ

depart the Walmart location and drive to E Pine Street.          GARCIA-

GOMEZ parked on E Pine Street.

            A short time later, GARCIA-GOMEZ, on a recorded line,

spoke to CS1.   CS1 advised her to bring out the pills and that

CS2 had the money.

            A short time later, officers detained GARCIA-GOMEZ and

searched the Honda and the Mercedes on E Pine Street.          Officers
saw that MERCADO was no longer in the Mercedes and had left the

scene.   Officers observed a bookbag on the passenger side floor

of the Mercedes containing a large number of suspected fentanyl

pills.

            SGD stated that they spoke to an employee of the

storage facility where GARCIA-GOMEZ and MERCADO had gone before

the deal.   The employee stated GARCIA-GOMEZ rents out the SUBJECT

PREMISES and is always late on her payments.        The employee stated

that GARCIA-GOMEZ tried to get access to the SUBJECT PREMISES at



                                       18
Case 2:22-mj-02096-DUTY Document 1 Filed 05/26/22 Page 20 of 27 Page ID #:20



approximately 12:30 p.m. on May 25, 2022.        However, the employee

changed the combination code and told GARCIA-GOMEZ they will not

give her access to enter the unit.       GARCIA-GOMEZ told the

employee that she would pay them more money for them to open the

unit.   The employee declined.     The employee also stated that they

observed empty acetone bottles near the storage unit.            Based on

my training and experience, acetone is widely used in the making

of crystal methamphetamine.
                 TRAINING AND EXPERIENCE ON DRUG OFFENSES

           Based on my training and experience and familiarity

with investigations into drug trafficking conducted by other law

enforcement agents, I know the following:

           a.    Drug trafficking is a business that involves

numerous co-conspirators, from lower-level dealers to higher-

level suppliers, as well as associates to process, package, and

deliver the drugs and launder the drug proceeds.          Drug

traffickers often travel by car, bus, train, or airplane, both

domestically and to foreign countries, in connection with their

illegal activities in order to meet with co-conspirators,

conduct drug transactions, and transport drugs or drug proceeds.

           b.    Drug traffickers often maintain books, receipts,

notes, ledgers, bank records, and other records relating to the

manufacture, transportation, ordering, sale and distribution of

illegal drugs.    The aforementioned records are often maintained

where drug traffickers have ready access to them, such as on

their cell phones and other digital devices, and in their

residences.



                                       19
Case 2:22-mj-02096-DUTY Document 1 Filed 05/26/22 Page 21 of 27 Page ID #:21



           c.    Communications between people buying and selling

drugs take place by telephone calls and messages, such as e-

mail, text messages, and social media messaging applications,

sent to and from cell phones and other digital devices.           This

includes sending photos or videos of the drugs between the

seller and the buyer, the negotiation of price, and discussion

of whether or not participants will bring weapons to a deal.             In

addition, it is common for people engaged in drug trafficking to

have photos and videos on their cell phones of drugs they or

others working with them possess, as they frequently send these

photos to each other and others to boast about the drugs or

facilitate drug sales.

           d.    Drug traffickers often keep the names, addresses,

and telephone numbers of their drug trafficking associates on

their digital devices and in their residence.         Drug traffickers

often keep records of meetings with associates, customers, and

suppliers on their digital devices and in their residence,

including in the form of calendar entries and location data.

           e.    Drug traffickers often use vehicles to transport

their narcotics and may keep stashes of narcotics in their

vehicles in the event of an unexpected opportunity to sell

narcotics arises.

           f.    Drug traffickers often maintain on hand large

amounts of United States currency in order to maintain and

finance their ongoing drug trafficking businesses, which operate

on a cash basis.     Such currency is often stored in their

residences and vehicles.



                                       20
Case 2:22-mj-02096-DUTY Document 1 Filed 05/26/22 Page 22 of 27 Page ID #:22



             g.     Drug traffickers often keep drugs in places where

they have ready access and control, such as at their residence

or in safes.       They also often keep other items related to their

drug trafficking activities at their residence, such as digital

scales, packaging materials, and proceeds of drug trafficking.

These items are often small enough to be easily hidden and thus

may be kept at a drug trafficker’s residence even if the drug

trafficker lives with others who may be unaware of his criminal

activity.

             h.     It is common for drug traffickers to own multiple

phones of varying sophistication and cost as a method to

diversify communications between various customers and

suppliers.    These phones range from sophisticated smart phones

using digital communications applications such as Blackberry

Messenger, WhatsApp, and the like, to cheap, simple, and often

prepaid flip phones, known colloquially as “drop phones,” for

actual voice communications.
                  TRAINING AND EXPERIENCE ON DIGITAL DEVICES 3
             Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I




      3As used herein, the term “digital device” includes any
electronic system or device capable of storing or processing
data in digital form, including central processing units;
desktop, laptop, notebook, and tablet computers; personal
digital assistants; wireless communication devices, such as
paging devices, mobile telephones, and smart phones; digital
cameras; gaming consoles; peripheral input/output devices, such
as keyboards, printers, scanners, monitors, and drives; related
communications devices, such as modems, routers, cables, and
connections; storage media; and security devices.


                                       21
Case 2:22-mj-02096-DUTY Document 1 Filed 05/26/22 Page 23 of 27 Page ID #:23



know that the following electronic evidence, inter alia, is often

retrievable from digital devices:

           a.    Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.           Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.       Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

           b.    Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device.          That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.



                                       22
Case 2:22-mj-02096-DUTY Document 1 Filed 05/26/22 Page 24 of 27 Page ID #:24



           c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.    For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

           d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.       Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.
           Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data

during a search of the premises for a number of reasons,

including the following:

           a.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.        Also, there are now so

many types of digital devices and programs that it is difficult

to bring to a search site all of the specialized manuals,

equipment, and personnel that may be required.



                                       23
Case 2:22-mj-02096-DUTY Document 1 Filed 05/26/22 Page 25 of 27 Page ID #:25



           b.    Digital devices capable of storing multiple

gigabytes are now commonplace.       As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.
           The search warrant requests authorization to use the

biometric unlock features of a device, based on the following,

which I know from my training, experience, and review of publicly

available materials:

           a.    Users may enable a biometric unlock function on

some digital devices.     To use this function, a user generally

displays a physical feature, such as a fingerprint, face, or

eye, and the device will automatically unlock if that physical

feature matches one the user has stored on the device.           To

unlock a device enabled with a fingerprint unlock function, a

user places one or more of the user’s fingers on a device’s

fingerprint scanner for approximately one second.          To unlock a

device enabled with a facial, retina, or iris recognition

function, the user holds the device in front of the user’s face

with the user’s eyes open for approximately one second.

           b.    In some circumstances, a biometric unlock

function will not unlock a device even if enabled, such as when

a device has been restarted or inactive, has not been unlocked

for a certain period of time (often 48 hours or less), or after

a certain number of unsuccessful unlock attempts.          Thus, the

opportunity to use a biometric unlock function even on an




                                       24
Case 2:22-mj-02096-DUTY Document 1 Filed 05/26/22 Page 26 of 27 Page ID #:26



enabled device may exist for only a short time.          I do not know

the passcodes of the devices likely to be found in the search.

           c.    Thus, the warrant I am applying for would permit

law enforcement personnel to, with respect to any device that

appears to have a biometric sensor and falls within the scope of

the warrant: (1) depress Maria GARCIA-GOMEZ and Jonathan Alexis

MERCADO’s thumb and/or fingers on the device(s); and (2) hold

the devices in front of Maria GARCIA-GOMEZ and Jonathan Alexis

MERCADO’s face with his or her eyes open to activate the facial-

, iris-, and/or retina-recognition feature.
           Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.

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Case 2:22-mj-02096-DUTY Document 1 Filed 05/26/22 Page 27 of 27 Page ID #:27
